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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION

   UNITED STATES OF AMERICA,                             )
                                                         )
                                 Plaintiff,              )
                                                         )
                            v.                           )       No. 1:98-cr-00038-JMS-MJD
                                                         )
   WILLIE BODDIE,                                        ) -02
                                                         )
                                 Defendant.              )

                                               ORDER

          On December 2, 2020, Defendant, who is represented by retained counsel, filed a

   motion for compassionate release. Dkts. 177, 178, 179. The United States shall file a response

   to this motion within 14 days of the date of this Order. Any reply shall be filed within 7 days

   of the date on which the United States' response is filed.

          In addition, the exhibits to Defendant's motion violate Federal Rule of Criminal

   Procedure 49.1 because, at a minimum, they include Defendant's full Social Security number.

   Accordingly, the documents (dkts. 179 and 179-1 through 179-7) are hereby stricken. The

   clerk is directed to strike these documents from CM/ECF and remove them from public

   view. Defendant shall re-file the exhibits within 7 days of the date of this Order.

          Any re-filed document must comply with Federal Rule of Criminal Procedure 49.1,

   which, among other things, requires redacting Social Security numbers so that only the last 4

   digits are visible. To the extent Defendant considers re-filing any particular exhibit under seal,

   the Court notes that Local Criminal Rule 49.1-2 does not allow for the wholesale sealing of

   documents that might include some confidential information. Instead, documents may be

   sealed only if the requesting party files a motion to seal and shows that "less restrictive
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   alternatives to sealing, such as redaction, will not afford adequate protection." S.D. Ind. Local

   Crim. R. 49.1-2(e)(2)(A).

          IT IS SO ORDERED.




        Date: 12/3/2020




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   All Electronically Registered Counsel
